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                 EXHIBIT B-082
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                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                                                                      FILED IN OFFICE
                                     ST ATE OF GEORGIA
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                                                                                      DCPUTY CU               fh,OF.: COURT
IN-RE:                                        )                                            FUI fl)f,   C0 11 •,1 't. r__   _.
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
James Phil Waldron                            )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.


       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O,C.G,A. §

24-13-92 et seq,, and in support thereof says as follows:

       L A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022, See Order Impaneling Special Purpose Grand

           Jury Pursuant to O,CG,A, § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions
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    related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is

    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

3. James Phil Waldron, born May 24, 1964, (hereinafter, "the Witness") is a necessary

   and material witness to the Special Purpose Grand Jury's investigation. Through both

   its investigation and through publicly available information, the State has learned the

   following information.

4. The Witness is known to be affiliated with both former President Donald Trump and

   the Trump Campaign.

5. On December 3, 2020, the Witness appeared at a Georgia State Senate subcommittee

   meeting in Atlanta, Georgia, where he testified about purported vulnerabilities of the

   Dominion Voting Systems voting machines used throughout Georgia during the

   November 2020 election. At the hearing, the Witness was introduced by Rudolph

   Giuliani, former President Trump's personal attorney. There is evidence in the public

   record that suggests that the Witness testified at similar proceedings regarding similar

   subject matter in other states.

6. On or about December 11, 202\, The Washington Post reported that it had conducted

   an interview with the Witness. During the interview, the Witness stated that he

   worked with attorneys for former President Donald Trump and the Trump Campaign

   in the weeks following the November 2020 election and that he was part of a team
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    that briefed lawmakers using a PowerPoint presentation titled "Options for 6 JAN."

    The Witness further stated that he had met with Mark Meadows, former President

    Trump's Chief of Staff, multiple times in the weeks following the November 2020

    election to discuss claims of election fraud and that he attended a meeting with former

    President Trump and state legislators from Pennsylvania on November 25, 2020, to

    discuss claims of election fraud. The Witness further stated that he once met with

    Rudolph Giuliani and United States Senator Lindsey Graham to brief Senator Graham

    in the weeks following the November 2020 election.

7. The Witness, based on the above, is a necessary and material witness. The Witness

   possesses unique knowledge concerning the logistics, planning, and subject matter of

   his testimony before the Georgia State Senate and other state legislative bodies. The

   ,Witness possesses unique knowledge concerning relevant communications between

   the Witness, former President Donald Trump, the Trump Campaign, and other known

   and unknown individuals involved in the multi-state, coordinated efforts to influence

   the results of the November 2020 elections in Georgia and elsewhere. Finally, the

   Witness's anticipated testimony is essential in that it is likely to reveal additional

   sources of information regarding the subject of this investigation.

8. The testimony of the Witness will not be cumulative of any other evidence in this

   matter.

9. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

   unable to be served with process to compel attendance and testimony.

10. The Witness currently resides in Dripping Springs, Hays County, Texas.
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        11. The Witness will be required to be in attendance and testify before the Special

            Purpose Grand Jury on Thursday, September 22, 2022, at 9:00 a.m. The District

            Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

        12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

            will pay all reasonable and necessary travel expenses and witness fees required to

            secure the Witness's attendance and testimony, in accordance with the Uniform Act

           to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

           See O.C.G.A. §24-13-90 et seq.

        13. If the Witness comes into the State of Georgia pursuant to this request, directing the

           Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

           State shall give the Witness protection from arrest and from service of civil or

           criminal process, both within this State and in any other state through which the

           Witness may be required to pass in the ordinary course of travel, for any matters

           which arose before the Witness's entrance into this State and other states.

        14. Both Georgia and Texas have adopted the Uniform Act to Secure the Attendance of

           Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

           Tex. Code Crim. Proc. Art. 24.28.

       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required
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for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 19th day of August, 2022,

                                                   FANI T. WILLIS
                                                   DISTRICT ATTORNEY
                                                   ATLANTA JUDICIAL CIRCUIT




                                                         ar o.
                                                   Atlanta Judicial Circuit
                                                   136 Pryor Street Southwest
                                                   Third Floor
                                                   Atlanta, Georgia 30303
Case 1:23-cv-03721-SCJ Document 1-93 Filed 08/21/23 Page 7 of 12




                    Exhibit A
    Case 1:23-cv-03721-SCJ Document 1-93 Filed 08/21/23 Page 8 of 12




                   IN THE SUPEJRIORCOURT OF FULTON COUNTY
                           ATiLANTAJUDICIALCIRCUIT
                               STATEOFGEORGIA
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                                                                                    IN OFFICE

IN RE: REQUEST FOR
       SPECIAL PURPOSE
       GRAND JURY
                                                                   l        -~~.!l,J
                                                                   L---'1--~===.:;s:-.::.-.--l
               OlRDER APPROVING JREOUESTFOR SPECIAL PURPOSE
               GRAND JURY PURSUANT TO O.C.G.A. §15-12-100, et seq.

       The District Attorney for the AtlantaJudicialCircuitsubmittedto the judges of the

Superior Court of Fulton County a requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

numberof the judges of this Court, as requiredby O.C.G.A.§15-12-100(b).

       IT IS THEREFORE ORDEREDthat a specialpurposegrandjury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-12-100,to

commenceon May 2, 2022, and continuingfor a period not to exceed 12 months. Suchperiod

shall not include any time periods when the supervisingjudge detennines that the special

purpose grand jury cannot meet for safety or other reasons,or any time periods whennormal

court operations are suspendedby order of the SupremeCourtof Georgia or the Chief Judge of

the Superior Court. The special purposegrandjury shall be authorizedto investigateany and all

facts and circumstances relating directly or indirectlyto allegedviolationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12-I0l(a), the HonorableRobert C. I. McBumey is hereby

assignedto supervise and assist the specialpurposegrandju1y,and shall charge said special

purpose grand jury and receive its reports as providedby law.
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        This authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jmy's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-l2-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § [5-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will pennit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a
result of the COVID-19 Pandemic. '




                              CHRISTOP                     R~IEF         mDGE
                              Superior Court of Fulton County
                              Atlanta Judicial Circuit
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                     Exhibit B
           Case 1:23-cv-03721-SCJ Document 1-93 Filed 08/21/23 Page 11 of 12



                            OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                        ATLANTAJUDICIALCIRCUIT
                                      136PRYORSTREETSW,3RDFLOOR
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                                         ATLANTA,GEORGIA30303
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      The HonorableChristopher S. Brasher
      ChiefJudge, Fulton County SuperiorCourt                                  FILED IN OFFICE
      FultonCounty Courthouse                                                                        ,.{)
      185Central Avenue SW, Suite T-8905
      Atlanta,Georgia30303

      January20, 2022

      Dear Chief Judge Brasher:

      I hope this Jetter finds you well and in good spirits.Pleasebe advisedthat the DistrictAttorney's
      Officehas receivedinformationindicatinga reasonableprobabilitythat the State of Georgia's
      administrationof elections in 2020, includingthe State's electionof the Presidentof the United
      States,was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
      associatedwith these disruptionshave contactedotheragenciesempoweredto investigatethis
      matter,includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral,and the United
      StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
      agencywithjurisdiction that is not a potentialwitnessto conductrelated to the matter.As a
      result,our officehas opened an investigationinto any coordinatedattemptsto unlawfullyalter
      the outcomeof the 2020 electionsin this state.

      Wehave made efforts to interviewmultiple witnessesand gatherevidence,and a significant
      numberof witnessesand prospectivewitnesseshaverefusedto cooperatewith the investigation
      absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
      BradRaffensperger,an essentialwitnessto the investigation,has indicatedthat he will not
      participatein an interview or otherwiseoffer evidenceuntil he is presentedwith a subpoenaby
      my office.Pleasesee Exhibit A, attachedto this letter.

      Therefore,I am hereby requesting,as the electedDistrictAttorneyfor Fulton County,pursuant
      to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneledfor the purpose
      of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possibleattemptsto
      disruptthe lawfuladministrationof the 2020 electionsin the State of Georgia.Specifically,a
      specialpurpose grandjury, which will not have the authorityto return an indictmentbut may
      makerecommendationsconcerning criminalprosecutionas it shall see fit, is needed for three
      reasons:first, a special purpose grandjury can be impaneledby the Court for any time period
      requiredin order to accomplish its investigation,whichwill likelyexceeda normal grandjury
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        temi; second,the special purpose grandjury wouldbe empoweredlo reviewthis matterand this
        matteronly, with an investigatoryfocusappropriateto the complexityof the facts and
        circumstancesinvolved; and third, the sittinggrandjury wouldnot be requiredto attemptto
        addressthis matter in addition to theirnormalduties.

        Additionally,I am requesting that, pursuantto 0.C.G.A. § 15-12-101,a Fulton CountySuperior
        CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
        investigationand duties.

     I have attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
     of the Court.

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'--~mstrict Attorney,Atlanta Judicial Circuit

   ExhibitA: Transcriptof October 31,202 I episodeof 1\.feetthe Press on NBC News at 26:04
   (videoarchivedat https://www.youtube.com/watch?v=B7IcBRPgt9k)
   ExhibitB: Proposed Order

   cc:
   TheHonorableKimberly M. EsmondAdams
   TheHonorableJane C. Barwick
   TheHonorableRachelle Camesdale
  The HonorableThomas A. Cox, Jr.
  TheHonorableEric Dunaway
  The HonorableCharles M. Eaton, Jr.
  The HonorableBelinda E. Edwards
  TheHonorableKelly Lee Ellerbe
  TheHonorableKevin M. Farmer
 TheHonorableUral Glanville
 The HonorableShakura L. Ingram
 TheHonorableRachel R. Krause
 The HonorableMelynee Leftridge
 The HonorableRobert C.I. McBurney
 The HonorableHenry M. Newkirk
The HonorableEmily K. Richardson
TheHonorableCraig L. Schwall, Sr.
The HonorablePaige Reese Whitaker
TheHonorableShennela J. \Villiams
FultonCountyClerk of Superior Court .Cathelene'Tina" Robinson
